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 5
 6   Attorney for Defendant
     JUAN SANCHEZ MEDINA
 7
 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0355 FCD
                                     )
14                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
15        v.                         )       AND EXCLUDING TIME
                                     )
16   JUAN SANCHEZ MEDINA and         )
     BENITO CANUTO GUERRERO,         )       Date: November 2, 2009
17                                   )       Time: 10:00 a.m.
                    Defendants.      )       Judge: Hon. Frank C. Damrell, Jr.
18                                   )
     _______________________________ )
19
20
21         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of   America,   and    defendants,   Juan   Sanchez   Medina   and   Benito   Canuto
23   Guerrero, that the status conference scheduled for November 2, 2009, may
24   be continued to November 30, 2009, at 10:00 a.m.
25         Counsel for all parties seek additional time to review discovery and
26   to determine defendants’ sentencing exposure.              To afford additional
27   necessary time to prepare, the parties agree that time under the Speedy
28   Trial Act should be excluded from the date of this order through the
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 1   status    conference    on   November   30,   2009,   pursuant   to      18   U.S.C.   §
 2   3161(h)(7)(A) and (B)(iv).
 3                                             Respectfully submitted,
 4                                             DANIEL J. BRODERICK
                                               Federal Defender
 5
 6   Dated:     October 29, 2009               /s/ T. Zindel
                                               TIMOTHY ZINDEL
 7                                             Assistant Federal Defender
                                               Attorney for JUAN SANCHEZ MEDINA
 8
 9   Dated:     October 29, 2009               /s/ T. Zindel for D. Koukol
                                               DAN KOUKOL
10                                             Attorney for BENITO CANUTO GUERRERO
11                                             LAWRWENCE G. BROWN
                                               United States Attorney
12
13   Dated:     October 29, 2009               /s/ T. Zindel for T. Leras
                                               TODD LERAS
14                                             Assistant U.S. Attorney
15
16                                        O R D E R
17          The status conference is continued to November 30, 2009, at 10:00
18   a.m.     Time under the Speedy Trial Act is excluded through that date for
19   the reasons stated above and by agreement of the parties, the Court
20   finding that the ends of justice to be served by a continuance outweigh
21   the best interests of the defendant and the public in a speedy trial.
22          IT IS SO ORDERED.
23
24   Dated: October 29, 2009
25                                                   ____________________________
                                                     FRANK C. DAMRELL, JR.
26                                                   UNITED STATES DISTRICT JUDGE
27
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     Stip. & Order                             2
